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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                 :
In re:                                                           :    Chapter 11
                                                                 :
BOY SCOUTS OF AMERICA AND                                        :    Case No. 20-10343 (LSS)
DELAWARE BSA, LLC                                                :
                                                                 :    (Jointly Administered)
                                               1
                                     Debtors.                    :    Objection Deadline: 8/31/2020 at 4:00 p.m. (ET)
                                                                 :    Hearing Date: 9/9/2020 at 10:00 a.m. (ET)
                                                                 :

            NOTICE OF MOTION OF THE COALITION OF ABUSED SCOUTS
       FOR JUSTICE FOR AN ORDER (I) AUTHORIZING THE COALITION TO
        FILE UNDER SEAL EXHIBIT A TO THE AMENDED 2019 STATEMENT
    AND (II) APPROVING THE SUFFICIENCY OF THE AMENDED 2019 STATEMENT

         PLEASE TAKE NOTICE that on August 24, 2020, the Coalition of Abused Scouts for

Justice (the “Coalition”) of filed the Motion of the Coalition of Abused Scouts for Justice for

An Order (I) Authorizing the Coalition to File Under Seal Exhibit A to the Amended 2019

Statement and (II) Approving the Sufficiency of the Amended 2019 Statement (the “Motion”)

with the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

         PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion

must be filed in writing with the Bankruptcy Court, 824 Market Street, 3rd Floor, Wilmington,

Delaware 19801, and served upon and received by the undersigned counsel for the Coalition on or

before August 31, 2020, at 4:00 p.m. (ET).

         PLEASE TAKE FURTHER NOTICE that if an objection is timely filed, served and

received and such objection is not otherwise timely resolved, a hearing to consider such objection

and the Motion will be held before the Honorable Laurie Selber Silverstein, United States



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 The Debtors in the chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 W. Walnut Hill Ln., Irving, TX 75038.


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Bankruptcy Judge for the District of Delaware, in the Bankruptcy Court, 6th Floor, Courtroom 2,

824 Market Street, Wilmington, Delaware 19801 on September 9, 2020, at 10:00 a.m. (ET).

        IF NO OBJECTIONS TO THE MOTION ARE TIMELY FILED, SERVED AND

RECEIVED IN ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT MAY

GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR

HEARING.

Dated: August 24, 2020                     BLANK ROME LLP
Wilmington, Delaware
                                           /s/ Stanley B. Tarr
                                           Stanley B. Tarr (DE No. 5535)
                                           1201 Market Street, Suite 800
                                           Wilmington, Delaware 19801
                                           Telephone: (302) 425-6423
                                           Facsimile:      (302) 252-0921
                                           E-mail:         Tarr@BlankRome.com


                                                   -and-

                                           BROWN RUDNICK LLP
                                           David J. Molton, Esquire
                                           Seven Times Square
                                           New York, New York 10036
                                           Telephone: (212) 209-4800
                                           Email: DMolton@brownrudnick.com

                                                   -and-

                                           Sunni P. Beville, Esquire
                                           Tristan G. Axelrod, Esquire
                                           One Financial Center
                                           Boston, MA 02111
                                           Telephone: (617) 856-8200
                                           E-mail: sbeville@brownrudnick.com
                                           E-mail: taxelrod@brownrudnick.com

                                           Co-Counsel to the Coalition of Abused Scouts for
                                                 Justice




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